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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                                 :
Ronald Decker,                                   :
                                                   Civil Action No.: 3:13-cv-00070
                                                 :
                      Plaintiff,                 :
       v.                                        :
                                                 :
Verizon Wireless,                                :
                                                 :
                      Defendant.                 :
                                                 :

                               STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby discontinued against Defendants Verizon Wireless with prejudice and without costs to

any party.
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Ronald Decker                             Verizon Wireless

__/s/ Sergei Lemberg_________             _ /s/ Patricia R. Rich

Sergei Lemberg, Esq. (Juris No. 425027)   Patricia R. Rich (CT 24953)
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Attorney for Plaintiff                    Attorneys for Defendant

_____________________________
SO ORDERED




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2013, a true and correct copy of the foregoing Stipulation
of Dismissal was served electronically by the U.S. District Court for the District of Connecticut
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

Patricia R. Rich
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100 High Street, Suite 2400
Boston, MA 02110-1724

                                             By_/s/ Sergei Lemberg_________
                                                 Sergei Lemberg
